                                                                                                                                                                                                            3

                                                                                                                                1        INDEX                                 PAGE NUMBER
                                                                                                                     1          2        Proceedings                                   4

             1                   NOTICE    OF   SPECIAL MEETING OF             SHAREHOLDERS            OF                                                  wae
                                                 NEXGEN MEMANTINE, INC.                                                         3        Reporter's Certificate                            59
             2



             3                                                                                                                  4

             4        TELEPHONIC
                      PROCEEDINGS :                 1.     REPORT       THE    RESULTS          OF   LITIGATION
             5                                      COUNSEL'S INVESTIGATION OF THE                                              5
                                                    WESTMINSTER TRANSACTION.                          To   report
             6                                      litigation          counsel's          finding
                                                    regarding potential                claims          against                  6
             7                                      Gajan Mahendiran             arising             from his
                                                    transactions          with       the    company
             8                                      relating       to    Westminster
                                                    Pharmaceuticals                                                             7
             9

                                                    2.     DISCUSS FURTHER ACTION.                         Discuss
            10                                      the    results       of    litigation             counsel's
                                                    findings and potential further                                              8
            11                                      actions


            12                                      3.     OTHER BUSINESS.                 To    transact                       9
                                                    such    other business             as       may properly
            13                                      come    before       the    special         meeting        or
                                                    any    adjournments          or postponements
            14                                      thereof                                                                    10
            15        TAKEN:                        Pursuant to notice given to all                                            11
                                                    shareholders          and board members                  of                12
            16                                      WNexgen Memantine,               Inc.,      by     Suren

                                                    Ajjarapu and Annapurna Gundlapalli                                         13
            1?

                      DATE:                         August 13, 2019                                                            14
            18
                      TIME:                         11:10 a.m. to 12:05 p.m.                                                   15
            *         REPORTED BY:                  Melanie       Keefe,       FPR
                                                                                                                               16
            20                                      Notary    Public                                                           17

                                                    State    of    Florida       at    Large
            21                                                                                                                 18
                      PLACE:                        8913    Regents       Park       Drive
            22                                      Suite 390                                                                  19
            3                                       Tampa, Florida              33647                                          20



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  1    APPEARANCES:                   DAVID         M. SASLOW, ESQUIRE
                          McIntyre Thanasides Bringgold Elliott                                                                 1                       PROCEEDINGS
  2                      Grimaldi Guito & Matthews, P.A.                                                                        2             THE COURT: Last time we had a shareholders'
                          500     East      Kennedy         Boulevard
  3                       Suite 200                                                                                             3        meeting and decided to retain Trenam                   Kemker to

  4                      Tampa, Florida 33602                                                                                   4        investigate potential claims against
                                Attorney for Suren Ajjarapu                                                                     5        Mr. Mahendiran.         So at the conclusion of the meeting,

  5                                                                                                                             6        Dean undertook an investigation.              And the purpose of
                          DEAN        A.   KENT,         ESQUIRE
  6                      Trenam            Law                                                                                  7        this meeting    is to -- for Dean to discuss the results

                          101 East Kennedy Boulevard                                                                            8        of his report -- of his investigation -- I'm sorry --
  7                      Suite 2700                                                                                                             ;
                         Tampa, Florida                  33602                                                                  9        and decide what next steps to take.

  8                                                                                                                            10             MR. KENT:          I'm going to take over.          Okay.     Dean
                                Attorney          for    Nexgen           Memantine, Inc.
  9                                                                                                                            11        Kent, I guess special litigation counsel for Nexgen

                                                                                                                               12        Memantine, LLC.          I was retained   way back.         I was at the
 10    ALSO PRESENT:                  Suren Ajjarapu                                                                           13                .                                 a      .             oo
                          Balvant Arora                                                                                                  last meeting.     I have done a preliminary             investigation.

 11                       Harsh       Datta                                                                                    14        I think I've e-mailed and requested documents from                      any
                         Tiffany Hice (Via Telephone)                                                                          15         h   hold       |                     |        d    1
 12                      jitendra Jain (Via Telephone)                                                                                   shareholders or in-person        meetings, and   so   I've

                                                                                                                               16        reviewed   information.       I haven't really obtained
 13
                                                                                                                               17        anything   from   Mr. Mahendiran or his counsel.

 14                                                                                                                            18             In fact, recently this week -- I don't know if
 15
 16                                                                                                                            19        you were copied with this, Dave, or anyone else, but he

 17                                                                                                                            20        has now    engaged       local counsel, not just Mr. Sabharwal
 18
 19                                                                                                                            21        up in DC, but he's engaged the Gunster law firm as

 20                                                                                                                            22        local counsel and       essentially   taken   the position       that

 3                                                                                                                             23        he's never -- or is not a shareholder and doesn't owe
 23                                                                                                                            24        any, you know, fiduciary        duties to the company, was not

 a                                                                                                                             25        an officer or director, and essentially is not going to
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                                                                                                                                                                                           Memantine 000024
     1    participate in today's meeting.                                         1    fiduciary duty or constructive trust or unjust

     2         But then I can circle back with some discussions                   2    enrichment or for conversion of its assets.   Those are
     3.   thatI actually had with his attorney yesterday ina                      3    the types of claims that we're talking about right now
     4    conference call, but that was a letter dated August 6th                 4    that I think would be appropriate and make him
     5    thatI got certified mail yesterday.   But essentially,                  5    establish or take a position, because essentially right
     6    I think, you know, a lot of communications were going                   6    now he's just saying, "I was not involved."    He's not

     7    back and forth essentially with Mr. Mahendiran's                        7    denying he got the money.      He's just throwing up his

     8    counsel.                                                                8    hands and walking away.
     9         Weidentified, I think, $1.85 million in                            9         As part of that -- and that was some of the

    10    transfers that wereidentified in the documents as                      10    discussions that I had with his counsel yesterday, his
|
11 TRXADE Invest between April 2016 and December of 2016.                        11    local counsel, Mr. Mather, at Gunster.    He realizes

    12.   Iasked for follow-up detail and information on that,                   12    that that's the path he's going to take because they

    13.   which was never given.     I asked Mr. Mahendiran                      13    haven't been cooperative.     They've given us information

    14    essentially what they were for, if he could identify                   14    that we've requested and the documentation that we've

    15    any documents relating to such transfers, and what, if                 15    requested regarding these transfers and he indicated
    16    anything, Nexgen Memantine, LLC, received as                           16    that he would bewilling, if -- to sit down and try to

    17    compensation or consideration for the transfers and                    17    have a forensic accountant go through these transfers
    18    nothing was provided and nothing is in the books and                   18    on behalf -- on Mr. Mahendiran's side and try to

    19    records and nothing is reflected.                                      19    mediate this dispute to try to head it off before it
    20         So it looks as though it's essentially a                         20     gets to a lawsuit.

    21    one-sided transaction.   It's unfortunate that                        21          And again, I told him that that was something I
    22    Mr. Mahendiran's counsel isn't here to kind of                        22     would bring up to the shareholders and have them

    23    counterpoint things, but essentially right now it's a                 23     discuss because I told him that -- you know, all I'm

    24    very one-sided situation, and that’s why wedidn't put                 24     getting right now is "I dare you to sue me,” and so my
    25    forth some kind of written findings of fact and                       25     recommendation would be to sue to force some action,

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                                                                   6                                                                            8
     1    conclusions of law and summarizing all the documents,                   1    "and your lack of cooperation is indicating that
     2    because it just looks like there's a giant outflow of                   2    anything shortof litigation is not going to be met
     3    money.     There's nothing coming back to the entity.                   3    with any sort of cooperation."

     4         So to the extent the entity has been harmed, it                    4         But he expressed an interest in obviously keeping
     5    has claims against Mr. Mahendiran essentially either                    5    this out of the public record due to the fact that,

     6    for recoupment of those funds, return of the funds, or                  6    yeah, once wefile a lawsuit, we would file it likely
     7    for either a constructive trust to try to retain -- and                 7    in Florida or federal court, it becomes a news item.
     8    again, constructive trust is difficult because you have                 8    There's press releases.    So the documentation and
     9    to be able to specifically identify those funds to                      9    information that is filed would be -- even though you
    10    attach, but to essentially track those proceeds and                    10    can try to protect it, it would be discoverable and
    11    whatever assets they went to to try to pull them back                  11.   information that's always going to be out there and you
    12    into the entity and distribute them appropriately.                     12    can't even expunge or delete completely.
    13         The idea being, you know, that that was a company                 13         So that's kind of where we are at.    I mean, my
    14    asset.   Money is a company asset, so every dollar that                14    recommendation would be, if the shareholders approve of
__
15 comes out of the company would be a distribution which 15 it, is to go back to his counsel and let him know --
    16    should be shared equally amongst the shareholders                      16    that's essentially -- what I told him is I was going to

    17    unless there was some meeting in advance, some approval                |17   circle up and make mypresentation to the shareholders.
    18    in advance, or some business reason for those                          18    If the shareholders were of the mind and voted
    19    transfers, which we have not received.                                 19    appropriately to take the next step, to let him know

    20         So that would be my recommendation, or                           20     that we are -- we have authorized legal action against
    21    consideration now is to maybe take things to the next                 21.    +you, whether that's a lawsuit or something short of a
    22    step to explore whether Mr. Mahendiran is going to                    22     lawsuit, and then to -- for him to come back and say

    23    fight this to the extent he's going to force the                      23     does he want to mediate or does he just want to force
    24    company to pursue a legal action against him for --                   24     us to sue.   That's kind of where we're at right now.

    25    under those type of legal theories for a breach of                    25          DR. DATTA:      I have a question.
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     1            MR. KENT:    Sure.                                                  1    shareholder agreement.

     2            DR. DATTA:    So the money that was transferred                     2            DR. ARORA:     Yeah, exactly.     I mean, we have

     3    from the Nexgen Memantine account, where did that money                     3    the --

     4    go, to which company?         Did wefigure that one out?                    4            DR. DATTA:     Right.    The point I was trying to

     5            MR. KENT:    I think it was all directly to Gajan                   5    make is that he is saying that "I am not involved" or

     6    individually.   It looked as though it was to him                           6    was not involved, then he's just stealing money from

~~
7 directly. 7 someone else's house.

     8            DR. DATTA:    Okay.    So -- but he's saying that he                8            MR. KENT:     Right.    You can't have it   both ways.

     9    was not involved in this company?                                           9            DR. DATTA:     Right.    So -- but if he was

    10            MR. KENT:    Yes.                                                  10    transferring monies --

    11            DR. DATTA:    And yet he's syphoning off money out                 11            MS. HICE:    I'm sorry.

    12    of some company which he claims he has nothing to do                       12            MR. SASLOW:      Can you not hear, Tiffany?

    13.   with.     So why is he doing that?    Is he stealing money?                13            MR. HICE:    I was going to say as soon as we

=
14 MR. KENT: That's what we think. I mean, I don't 14 actually take legal action against him, we can file for

    15    know if    it's stealing because I don't know to the                       15.   discovery and get all e-mails and phone calls -- like,

    16    extent there's other answers or positions that he may                      16    number of phone calls, all of that to counter the claim

    17    take, but you're right.      It's not as though there's a                  17    that he is not involved.

    18    normal transaction where you get a hundred thousand                        18            MR. KENT:     Right.    And I think it doesn't look

    19    dollars, I get a note, here is a million dollars.     I                    19    well.    It doesn't make any sense to say, "I have no

    20    geta share of an asset that appreciates in value or                        20    involvement with the company.”            I would love it if

    21    something for it.                                                          21    companies were sending me $1.2 million over the course

    22            Right now it looks like it's all one-sided.                        22    of six months.      It hasn't happened.      I haven't been

~~
23 Money was being taken out. Nothing is given back. 23 ~that lucky yet.

    24    He's refused to give us any information as to what was                     24            MR. AJJARAPU:      Another thing I want to add to the
    25    given back.     And for there to be some sort of, like I                   25    shareholders is I am funding the legal case here as a

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                                                                      10                                                                                   12

     1    said, a binding -- even an oral agreement, there needs                      1    shareholder, so we've got to find a resolution here.

     2    to beaconsideration.         There needs to be something in                 2    Because if we're going to court with the legal, all the

     3    return for that money other than him -- it would be                         3    shareholders have to come to an understanding and pay

     4    just taking the money away.                                                 4    for the legal expenses because so far I have funded as

     5            DR. DATTA:    So Gajan's claim is that he has not                   5    a shareholder and a substantial stake in the company,

     6    been involved in Nexgen Memantine in any capacity or in                     6    even though I'm only 12 percent, but I'm trying to get

     7    some capacity he was involved?                                              7    this resolved.   I'm pursuing on behalf of all the
     8            MR. KENT:    I think -- they weren't abundantly                     8    shareholders.       I just want to get it on the record.

     9    clear on that in the message, but I think it’s got to                       9            MR. KENT:     No, that's true.   That's a fair point.

    10    be -- it would be insanity for him to claim he has no                      10    Something to consider is the fact, yeah, I mean, filing

    11    knowledge of this whatsoever, was never involved in any                    11    a legal claim against him with the attorneys he has

    12    way, form, or shape.                                                       12.   involved.    Again, these are large firms and they're no

    13            But I think what he’s probably saying is he no                     13.   rookies.    They know what they're doing.           They've got a

    14    longer has an interest, that he is out; as an officer,                     14    deep bench, but so does our firm, and we're familiar

    15    director, shareholder has no duties to the company,                        15    with these types of issues.

    16    which are borne from the fact that you are an officer,                     16            Iam hopeful.     I'm not completely optimistic

    17.   director, shareholder of a company.                                        17    about a chance for a resolution, but it did sound --

    18            DR. ARORA:     But from which date he claims that he               18    and I would just say in our conversations that I had

    19    is nota part of Nexgen Memantine?                                          19    with his attorney yesterday, it wasn't the type of

    20            MR. KENT:    He never tells us, and that’s why I                   20    conversation that I've had before where it was, "Pound

    21.   said -- and I asked him.       And again, part of the                      21    sand.    I'm not going to give you anything.          Go away."

    22    problem is when I bring up those exact questions, they                     22    It was more of a "Hey, we need to talk about this."

    23    just don't respond.     "Oh, I'll go back to my guy and                    23            And I think there might be an opportunity to
    24    ~=I'll talk to him," or we get nothing.                                    24    avoid those expenses if we do some sort of very quick

    25            MR. AJJARAPU:       That's weird because he signed the             25    -- and he wanted a formal mediator/mediation-type

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    1   situation as kind of a precursor to filing a formal                       1             MR. AJJARAPU:        Weare investigating that.

    2   lawsuit, which I think in this case might make some                       2             DR. DATTA:     So that could be found out from the

    3   sense.                                                                    3.   bank?

    4        MR. AJJARAPU:      Okay.                                             4             MR. KENT:     Right.   The bank has no dog in the

    5        DR. DATTA:     Okay.     Who else is over the phone?                 5    fight.    They'll give that up.

    6        MR. KENT:     I think Dr. Jain was going to pop in                   6             MR. SASLOW:      Well, they gave up all the records

    7   and out and someone else.                                                 7    they have.     I mean, do you think there's more?          Do you
    8        MR. SASLOW:       It's just Dr. Jain.                                8    think there's something else?

    9        MS. HICE:     I want to say on behalf of Dr. Jain,                   9             MR. AJJARAPU:        The account is fraudulent because

   10   he had expressed that he had reached out to you for                     10     the shareholders -- the account is fraudulent and

   11   legal counsel and asked if you'd represent the                          11     they're not willing to cooperate to give the

   12   shareholders as well and he didn't get a response back.                 12     information, so we've got to approach --

   13        MR. KENT:     Oh, no.    I think I did.   And I think              13              MR. KENT:     They're not going to do anything

   14   -- I told him -- it was an e-mail, I believe.                           14     ~=without a formal subpoena and a formal --

   15        DR. DATTA:     Yes.                                                15              MR. SASLOW:      They will cooperate.     They gave the

   16        MR. KENT:     Essentially, we're representing the                  16     records to Suren.       I showed her the --

   17   company.     We don't have to represent the shareholders.               17              MR. AJJARAPU:        The bank statements, but --

   18        DR. DATTA:     Okay.                                               18              MR. KENT:     I don't think they'll give you the

   19        MR. KENT:     Essentially, it's all the same claim,                19     underlying authorizations for transfers generally.

   20   whichis good.     I mean, it would be different if the                  20              MR. SASLOW:      You think they will still have that?

   21   company refused to investigate and then the                             21              MR. KENT:     Yeah.    Absolutely.   I mean, which bank

   22   shareholders had to do a derivative suit, but we're                     22     was this?

   23   looking at kind of a direct action here where there's                   23              MR. AJJARAPU:        SunTrust.

   24   shareholder approval to directly pursue and investigate                 24              MR. KENT:     Oh, absolutely.    Yeah, so SunTrust is

   25   these claims and the distributions.                                     25     now BB&T.       Absolutely.      Or Truist Bank, I think it’s

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                                                                     14                                                                                16

    1        DR. DATTA:     Okay.                                                 1    going to be.

    2        DR. ARORA:      Now, one of the questions that I                     2             MR. AJJARAPU:        Truist Bank?

    3   have, Suren, so the money -- the money was in the                         3             MR. KENT:     Yes.    That's the new bank --

    4   account and he was transferring?        Did I understand that             4             DR. DATTA:     Anybody else on the phone other than

    5   correctly?                                                                5    Dr. Jain?

    6        MR. KENT:     I think so, yeah.    That's what it                    6             MR. AJJARAPU:        I don’t see any other

    7   seems to me, yeah.                                                        7    shareholders.        I don't see anybody else.
    8        DR. ARORA:      Was there any oversight or was there                 8             MR. KENT:     I think that might be it.    She said

    9   any other --                                                              9    someone might be coming --

   10        MR. SASLOW:      You can't tell that from the                      10              MS. HICE:    Did we --

   11   documents.     The document does not say -- the document                11              MR. AJJARAPU:        Dr. Jain.

   12   does not say Gajan sent it to Gajan.                                    12              MS. HICE:    In your investigation, I'm sure

   13        MR. KENT:     TRXADE Invest.                                       13     representing the shareholders and the company, the

   14        MR. SASLOW:      The bank records say -- well, that                14     company bank account where this money was transferred

   15   was the reference line, TRXADE Investment.          The sender          15     out, did we not already get those bank records?

   16   is the company.    There's no indication of who at the                  16              MR. KENT:     The only thing that we could obtain

   17   company sent it in the documents.        There's no direct              17     ‘is, yeah, just kind of a bank statement which shows the

   18   evidence that he sent it to them himself.                               18     transfers, but they didn't provide us with kind of,

|
19 DR. ARORA: Okay. But somebody from the company,                              19     like I said, the underlying authorizations or

   20   the one who was opening that company --                                 20     communications in connection with the purposes or who

   21        MR. SASLOW:       Somebody who had signing authority               21     authorized or signed any of the transfers.

   22   on that account authorized those --                                     22              So they kind of gave us the, you know, very blank

   23        DR. ARORA:      Do you know who that authority was?                23     "You can look at the accounts and see monies going out”

   24        MR. SASLOW:       No, I don't have any --                          24     and it's got the information line saying "TRXADE

   25        DR. ARORA:      Suren?                                             25     Invest,” but you don't know who authorized or directed

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  1    the transaction.                                                           1   transferred.    I wasn't looking at the kind of running

  2           MS. HICE:     Well, they can print out the checks.                  2   account, but like I said, I know it didn't go negative.

  3    I know they can only go back -- sometimes they can only                    3   There was still --

  4    go back --                                                                 4           MR. SASLOW:     And I don't -- what I remember, it

  5           MR. SASLOW:       These were wires.                                 5   wasn't a balance here and slowly went down to zero.

  6           MR. KENT:     They were all wire transfers.                         6   There were fluctuations.        There were balances here,

  7           MS. HICE:     All right.                                            7   deductions.     Cash would come in.       I mean, it was --

  8           DR. ARORA:      Okay.      And this money was from Nexgen           8           MS. HICE:    But you guys -- for the amounts to be

  9    Memantine to TRXADE?                                                       9   close to zero for the size of the company and the

 10           MR. KENT:     Yes -- or to Gajan individually.                    10    amount of money, that would be a strong case for a

 11           MR. AJJARAPU:        Gajan individually.   And                    11    fiduciary breach by the officer in charge.

 12.   afterwards, where it went --                                             12            MR. KENT:    No doubt.

 13           MR. KENT:     We don't know if    that -- yeah, I think           13            DR. DATTA:    So what's --

 14    the target of the funds was generally Mr. Mahendiran                     14            MS. HICE:    And even if he's claiming he's not an

 15    individually.   It wasn't even an entity.      It was --                 15    officer, should we prove that he was an officer, that

 16           DR. DATTA:      Personal account?                                 16    he was involved, even an investor strongly involved

 17           MR. AJJARAPU:        Investment account.                          17    is --

 18           MR. SASLOW:       Those are the only --                           18            MR. SASLOW:      He's a signer on the account.

 19           MR. KENT:     Wire transfers to Mr. Mahendiran.                   19            MS. HICE:    If you can pierce the corporate veil

 20           DR. DATTA:     All of that?                                       20    and make him personally liable --

 21           MR. KENT:     Yes.                                                21            MR. SASLOW:      He's a signer on the account.

 22           DR. DATTA:      How much was that total?                          22            MR. KENT:    Yeah, I think there's a lot of legal

 23           MR. KENT:     1.185.                                              23    theories.    There's no doubt about the fact that even if

 24           DR. DATTA:      1.185, okay.    Was that all the money            24    he's not deemed -- I mean, if he avoided putting

 25    Nexgen Memantine had in its account total?                               25    himself down through circumventing it or putting a

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                                                                     18                                                                             20

  1           MR. AJJARAPU:        It was like 1.5 million or more                1   phantom company in there even, I think he's still going

  2    than that, so we don't know the exact -- exactly how                       2   to have some sort of fiduciary duties to the company

  3    much monies were in there.                                                 3   based ona position of trust and confidence and

  4           MR. KENT:     Yeah, when I looked in the account, it                4   representations that were made.           I don’t think that’s

  5    didn't go negative, but it was swept pretty close.                         5   going to get him off the hook for liability on those

  6           DR. DATTA:      Because we gaveclose to half a                      6   types of things.

  7    million at least.                                                          7           MS. HICE:    For him, I'm not sure he's realized as

  8           MR. AJJARAPU:        True.                                          8   adoctor where fraud is involved, he can be subject to

  9           DR. DATTA:      So we were given information that the               9   losing his license.

 10    company has a       lot more in its accounts.                            10            DR. ARORA:     Sure.    Exactly, yeah.   Tiffany, you

 11           MR. AJJARAPU:        So all the detail has to be found            11    are right, because if    it is going to be a fraud, then

 12    out.   We're asking for when it started and all where it                 12    that is going to be a very big issue.

 13    went and stuff.                                                          13            MS. HICE:    Yeah.     He could lose his license.    So

 14           DR. DATTA:      Because if it's 1.5 out 33 percent                14    if we were to do mediation and kind of stress this is a

 15    is, you know, coming from us only alone.           Is it kind of         15    very big deal, all the shareholders just want their

 16    a Ponzi scheme or something?                                             16    money back -- he has substantial means.            He is a

 17           MR. KENT:     So you were --     I didn't know this, but          17    doctor.     He has substantial means.       I don't care if he

 18    it was represented to you that there was a lot more                      18    spent all the money.         Everybody that invested is due

 19    money in the accounts?                                                   19    back their money and what they were promised.

 20           DR. DATTA:     Yes.                                               20            DR. DATTA:    Yes.

 21           MR. KENT:     Who represented that to you?                        21            DR. ARORA:    Yes.

 22           MR. SASLOW:       I remember that --                              22            MS. HICE:    So he has -- there's a lot of

 23           MR. KENT:     I think, like I said, I know there was              23    motivation for him to make right the situation that has

 24    moreinthere.        I haven't verified that.    I was just               24    been made wrong.

 25    kind of looking at what -- how the amounts were                          25            DR. ARORA:    Yes.
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     1    recision or fraud or for a claim against the company                        1   I think that, you know, we should go to suing him.               I

     2    for the breach of a fiduciary duty, to the extent that                      2   think we should formally sue him.
     3    exists.    I don't think any kind of settlement could                       3           MR. SASLOW:       Okay.   So we--   I thought we decided

     4    extinguish those individual direct injury type of                           4   clearly earlier that we were going to do the mediation,

     5    claims to a shareholder.                                                    5   do it within 30 days, and now you're saying you don't
     6            But I do believe, like I said, the injury to the                    6   want todo that.       Is that what you're saying, Tiffany?
     7    company as a whole is definitely a claim that would be                      7   Isuspect it's because --

     8    released.     If for instance, we went to a mediation, he                   8           MS. HICE:    I think for the shareholders, it's a
     9    says, "I'll give you $800,000."      People object.   And                   9   great risk that they're going to take because they're
    10    finally, Suren says, "I'm the majority shareholder.             I         10    nota majority --

    11.   think that's the best we're going to do.       I accept,"                 11            MR. SASLOW:       Okay.   So listen, so Dr. Jain can
    12    then you're right.    The claims would be resolved as far                 12    vote against moving forward with mediation, and that's

    13    asa derivative capacity for the individuals to try to                     13    his prerogative.     So if he doesn't want to move forward
    14    bring suit on behalf of the company to recover more                       14.   ~with it, he can abstain and not vote to move forward

    15.   than that, but I think they can take action against                       15.   with it.   That's fine.
    16    Suren or individually against whomever for recision                       16            DR. ARORA:     No, no.    But I mean, I was

    17    based upon their initial investment.                                      17    actually -- when this discussion started, before that I

    18            MS. HICE:   I think that would be very hard.        I             18    was coming to the same point.         If we are not going to

    19    have to say I have myjuris doctorate degree, but lam                      19    get to know -- and if there is only one person, Suren
    20    --I didn't take the bar.     So I think that would be                     20    will decide the compensation amount or rather --

    21    ~very hard for the shareholders.      It would be a much                  21            MR. AJJARAPU:      Dr. Arora, I'm sorry to interrupt.
    22    higher burden for them.       And currently all the                       22    If I don't want to keep you in the loop, why would I

    23    shareholders have a very good claim to get -- that                        23    engage the firm Trenam Kemker as an independent firm

    24    would reimburse them not only the amount, but the                         24    and keep you guys informed?          We're going to keep you
    25    interest that they should've earned and, you know,                        25    informed --
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                                                                      38                                                                             40
     1    punitive damages for this egregious travesty that they                      1           MS. HICE:    Because you have to.
     2    have incurred, I mean, on top of their legal -- if they                     2           MR. AJJARAPU:      But at the same time, we're

     3    win, they get the legal expenses.                                           3   keeping you informed.
     4            Unfortunately, for Mr. Mahendiran, that would                       4           MS. HICE:    Right.
     5    incur the -- he may lose his license because ofit.                          5           MR. AJJARAPU:      That's the reason.    But at the
     6    ButI mean, he could at this point in time, knowing                          6   same time as a majority shareholder, I will take the
     7    what he's done and with the company being able to say,                      7   position at the time because I cannot --
     8    "Hey, look, we're shareholders.       We have a right to see                8           MS. HICE:    Well, as a majority shareholder, you
     9    those accounts," we have already seen that money has                        9   have to inform the parties.
    10    gone directly to him, which is not how a corporation is                   10            MR. AJJARAPU:      Yeah, we've been keeping you

    11.   ~run.   Everybody here knows that there's really not --                   11.   informed on that.

    12.   witha strong claim for fiduciary breach, for                              12            MR. SASLOW:       And we have been, Tiffany.     We

    13.   conversion, for, you know, all of these things, if he                     13.   haven't not communicated anything.

    14    was with great counsel, he would go, "Oh, my God.                   I     14            DR. DATTA:    Tiffany, so you made --
    15    think maybe I should make it       right."   And he should                15            MS. HICE:    Right.   But I'm saying -- I'm just

    16    have -- or, you know, between attorney to attorney                        16    saying that I think it would be nice if every

    17    stressing that you should -- I'm surprised he hasn't                      17    shareholder got to vote whether or not --
    18    offered a settlement already.      Without us going to                    18            MR. SASLOW:       They do get to vote.   You do get to
    19    mediation, he could already offer a settlement.                           19    vote.    You totally get to vote.    No one is saying you
    20            So I think that we give him just verbally another                 20    can't vote.

    21    30 days, "Hey, you know, you're going to have 30 days                     21            DR. DATTA:    Voting in this case doesn't look like
    22    to offer a settlement, if you want," between counsel to                   22    it has any value.
    23    counsel of which, you know, we can then determine, we                     23            MS. HICE:    I'm just saying everybody is happy

|
24 can come back and have a meeting. But if we don't have                           24    with the amount --
    25    any offer for all of the shareholders to vote on, then                    25            MR. SASLOW:       We're not going to mediate by

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